     Case 1:15-cv-07433-LAP Document 1097 Filed 08/04/20 Page 1 of 6



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                          No. 19 Civ. 3377 (LAP)
-against-

ALAN DERSHOWITZ,

                   Defendant.

VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                          No. 15 Civ. 7433 (LAP)
-against-
                                                    ORDER
GHISLAINE MAXWELL,
                   Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

     The Court has reviewed the parties’ update, filed in Giuffre

v. Dershowitz, No. 19 Civ. 3377, on the status of their discussions

regarding   Defendant   Alan   Dershowitz’s   request    that   Plaintiff

Virginia Giuffre produce to him confidential discovery materials

and sealed filings from Giuffre v. Maxwell, No. 15 Civ. 7433. (See

dkt. no. 153 in 19 Civ. 3377.)

     In that update,    the parties agree that, if the Court permits

it, they are amenable to disclosure to Mr. Dershowitz of, among

other things, the names of all deponents, subpoena recipients, and

affiants in the Maxwell case and all documents listed on Exhibit

A to that letter, a copy of which is attached hereto.        Many of the

                                   1
     Case 1:15-cv-07433-LAP Document 1097 Filed 08/04/20 Page 2 of 6



documents on Exhibit A are deposition transcripts which will

undoubtedly disclose names and information about numerous of the

Does whose names have heretofore been redacted from the Maxwell

materials.

     The Court is concerned that such disclosure, even under a

protective order, will (1) undermine the careful unsealing process

agreed to by the parties in Maxwell, and (2) infringe on the

privacy or other countervailing interests against disclosure of

the Does without their having notice and an opportunity to be

heard.    Accordingly, by posting this order both in Giuffre v.

Maxwell, No. 15 Civ. 7433, and Giuffre v. Dershowitz, No. 19 Civ.

3377, the Court invites the Does to comment on the proposed

disclosure.

     Any Doe who wishes to be heard on the disclosure proposed by

counsel in Giuffre v. Dershowitz shall inform the Court of his/her

views no later than August 18, 2020.       Because those comments may

discuss information that is currently under seal in Giuffre v.

Maxwell, they will be submitted directly to the Court so that the

Court can review them in camera.         Comments may be sent to the

Court’s   email   address   at   PreskaNYSDChambers@nysd.uscourts.gov.

The Court specifically requests comment from counsel for John Doe

who has appeared in Maxwell.      The Court will, at the least, inform

the parties generally of the nature of any comments received.



                                     2
      Case 1:15-cv-07433-LAP Document 1097 Filed 08/04/20 Page 3 of 6



      Relatedly, the parties request that the Court clarify that

deposition     transcripts       and   other        documents      not   designated

confidential    on   their      face   (excerpts      of    some   of    which   were

submitted under seal as part of the (now unsealed) summary judgment

record in Maxwell, see infra n. 1) are not subject to the Maxwell

Protective Order (dkt. no. 62 in 15 Civ. 7433) and thus may be

freely   disclosed        and    produced      to     Defendant      without     any

restrictions on their use or disclosure.                   The Court agrees that

materials not designated confidential are not covered by the

Maxwell Protective Order but disagrees that there is necessarily

no   restriction     on   their    disclosure.             Specifically,    certain

materials may both (1) lack confidentiality designations made

pursuant to the Protective Order and (2) be filed under seal in

the Maxwell litigation.         To the extent that the materials mention

nonparties to the Maxwell action and remain under seal, such

materials should not be disclosed before the nonparties mentioned

are given notice and an opportunity to comment on the disclosure.

(See supra at 2.)     However, where such materials have already been




                                        3
     Case 1:15-cv-07433-LAP Document 1097 Filed 08/04/20 Page 4 of 6



unsealed--either by this Court or by the Court of Appeals--they

may be freely disclosed.1

SO ORDERED.

Dated:    New York, New York
          August 4, 2020

                            __________________________________
                            LORETTA A. PRESKA
                            Senior United States District Judge




1 For example, the parties’ update specifically discusses “the
transcripts of the depositions of witnesses including James
Austrich, Tony Figueroa, Sky Roberts, Brittany Henderson, and Juan
Alessi,” which “do not bear confidential designations” and which
were unsealed by the Court of Appeals’ unsealing of the Maxwell
summary judgment record. (See dkt. no. 153 in 19 Civ. 3377 at 1.)
The Court agrees that disclosure of those and similar materials
would not run afoul of the Maxwell Protective Order.
                                   4
    Case
    Case1:15-cv-07433-LAP
         1:19-cv-03377-LAP Document
                           Document1097
                                    153 Filed
                                        Filed07/29/20
                                              08/04/20 Page
                                                       Page55of
                                                             of66




                                     APPENDIX A

1. All documents concerning Alan Dershowitz.

2. All documents produced, or deposition or written testimony given, by any of Giuffre’s
   family members or boyfriends, including but not limited to Sky Roberts, Anthony
   Figueroa, and James Michael Austrich.

3. All documents produced, or deposition or written testimony given, by any friends of
   Giuffre, including Rebecca Boylan and Michael Boylan.

4. All documents produced, or deposition or written testimony given, by any Epstein
   employees or non-employee staff, including but not limited to Juan Alessi and David
   Rodgers.

5. All documents produced, or deposition or written testimony given, by Jeffrey Epstein.

6. All documents produced, or deposition or written testimony given, by Sarah Ransome or
   Maria Farmer.

7. All documents produced, or deposition or written testimony given, by any of the
   following individuals whom Giuffre has testified she was sexually trafficked to by
   Epstein:

       a. Prince Andrew

       b. Jean-Luc Brunel

       c. Glenn Dubin

       d. Stephen Kaufmann

       e. Marvin Minsky

       f. George Mitchell

       g. Thomas Pritzker

       h. Bill Richardson

       i. Leslie Wexner

       j. [Redacted]

       k. [Redacted]

       l. [Redacted]
    Case
    Case1:15-cv-07433-LAP
         1:19-cv-03377-LAP Document
                           Document1097
                                    153 Filed
                                        Filed07/29/20
                                              08/04/20 Page
                                                       Page66of
                                                             of66




8. All communications between Giuffre, and/or her agents or representatives, and any
   members of the media.

9. Ghislaine Maxwell’s deposition transcripts and exhibits.

10. All documents describing, or photographs, videos, or other media depicting, any of
    Epstein’s properties or airplanes.

11. All flight logs from Epstein’s planes.

12. All police reports concerning Giuffre.

13. All emails exchanged between Sarah Ransome and any member of the media, including
    but not limited to Maureen Callahan of the New York Post.




                                             2
